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 5
     Attorney for Defendant STEVEN PROUT
 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT FOR THE
 9                           EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )             CASE NO. CR-F-04-5244 OWW
                                   )
12             Plaintiff,          )            STIPULATION TO CONTINUE
                                   )            SENTENCING HEARING,
13   vs.                           )            AND ORDER THEREON
                                   )
14   STEVEN PROUT et al.           )
                                   )
15                                 )
               Defendants.         )            DATE:          9/8/2008
16   ______________________________)            TIME:          1:30 p.m.
                                                JUDGE:         Oliver W. Wanger
17
18                                     STIPULATION
19           It is hereby stipulated by and between the parties hereto
20   that the sentencing hearing in the above entitled matter now set
21   for September 8, 2008, may be continued to November 10, 2008 at
22   1:30 p.m.
23           Good cause exists for the continuance based upon the need to
24   review and/or conduct investigation related to the redacted victim
25   impact statements attached to the presentence report.
26           The Defendant’s formal objections are to be filed on or
27   before October 17, 2008.
28   ///


     U.S. vs. Prout                                      Stipulation/Proposed Order
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 1           The parties agree that time shall be excluded pursuant to 18
 2   U.S.C. §§ 3161, subd.(h)(8)(A) and (B) in that the ends of justice
 3   served by the continuance outweigh the best interest of the public
 4   and the defendant in a speed trial, since the failure to grant
 5   such a continuance would deny counsel for the defendant the
 6   reasonable time necessary for effective preparation, taking into
 7   account the exercise of due diligence.
 8   DATED: September 2, 2008            FLETCHER & FOGDERUDE, Inc.
 9
                                         /s/ Eric K. Fogderude
10                                       ERIC K. FOGDERUDE
                                         Attorney for Defendant,
11                                       STEVEN PROUT
12
13   Dated: September 2, 2008            McGREGOR W. SCOTT
                                         United States Attorney
14
                                         /s/ Stanley Boone
15
                                         STANLEY BOONE
16                                       Assistant US Attorney
17
                                          ORDER
18
19           IT IS SO ORDERED. Time is excluded pursuant to 18 U.S.C.
20   § 3161, subd.(h)(8)(A) and (B).        For the above stated reasons, the
21   court finds that the ends of justice served by the dely outweigh
22   the best interest of the public and the defendants in a speedy
23   trial. Therefore, the court grants the stipulation that the
24   Sentencing hearing be continued to November 10, 2008 at 1:30 p.m.
25
     IT IS SO ORDERED.
26
     Dated: September 3, 2008                /s/ Oliver W. Wanger
27   emm0d6                             UNITED STATES DISTRICT JUDGE
28


     U.S. vs. Prout                                    Stipulation/Proposed Order
     Case No. 04-5244 OW W                  2
